         Case 1:19-cv-01921-TFH Document 15 Filed 02/19/20 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                  )
  KASSEM HEJEIJ,                                  )
                                                  )
                 Plaintiff,                       )
                                                  )
          v.                                      )
                                                  ) Civil Action No. 1:19-01921 (TFH)
  ANDREA M. GACKI, et al.,                        )
                                                  )
                 Defendants.                      )
                                                  )
                                                  )

                NOTICE OF CLASSIFIED AND PRIVILEGED LODGING

       Defendants, through undersigned counsel, hereby provide notice that the Government is

lodging for submission classified and privileged information today, February 19, 2020, in

support of their motion to dismiss or, in the alternative, for summary judgment, ECF No. 8, and

in support of their opposition to Plaintiff’s cross-motion for summary judgment, ECF No. 9.

This ex parte, in camera submission includes classified portions of the administrative record in

this matter. See 50 U.S.C. § 1702(c) (permitting ex parte, in camera review of classified

information used in designations pursuant to the International Emergency Economic Powers

Act); Executive Order No. 13,526, 75 Fed. Reg. 707 (Dec. 29, 2009) (governing national

security information). It also includes a declaration from the Department of Homeland Security

regarding the Government’s assertions of the law enforcement privilege. The submission is

being lodged for secure storage and for secure transmission to the Court (upon request) with the

U.S. Department of Justice, Litigation Security Group, Washington, D.C., (202) 514-9016. The

Court may contact undersigned counsel, or the Litigation Security Group, to assist in securing

delivery of this submission for review at the Court’s convenience.

       Dated February 19, 2020                       Respectfully submitted,
Case 1:19-cv-01921-TFH Document 15 Filed 02/19/20 Page 2 of 2



                                 JOSEPH H. HUNT
                                 Assistant Attorney General

                                 DIANE KELLEHER
                                 Assistant Branch Director

                                 /s/Stuart J. Robinson
                                 STUART J. ROBINSON
                                 Trial Attorney
                                 United States Department of Justice
                                 Civil Division, Federal Programs Branch
                                 450 Golden Gate Ave.
                                 San Francisco, CA 94102
                                 Tel: (415) 436-6635
                                 Fax: (415) 436-6632
                                 Email: stuart.j.robinson@usdoj.gov
                                 Cal. Bar No. 267183

                                 Counsel for Defendants
